Case 2:04-cr-20430-SH|\/| Document 37 Filed 06/13/05 Page 1 of 2 Page|D 47

IN THE UNITED sTATEs DISTRICT coUR'I' Fl\.ED 1193 11£0. U-C-
FoR THE wEsTERN DISTRICT oF TENNESSEE
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UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 04-20430-Ma

VS.

ROBERT GREGORY,

~_~\~_r~._/~._/-_/-_’~_/-_/~_.,,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on May 31, 2005. Defense
counsel requested a continuance of the present trial date in order
to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning July 5, 2005 at 9:30 a.m., with a report
date of Friday, June 24, 2005 at 2:00 p.m.

The period, fron\ May 31, 2005 through July 15, 2005 is
excludable under 18 U.S.C. § 3161(h)(8}(B)(iv} because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this LBJ<' day of June, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

   

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This notice confirms a copy of the document docketed as number 37 in
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June 15, 2005 to the parties listed.

 

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Pamela B. Hamrin

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

